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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

BLACK WARRIOR RIVERKEEPER, )
INC., et al.,                )
                             )
      Plaintiffs,            )
                             )
v.                           )
                             )
UNITED STATES ARMY CORPS     )                 Case No. 2:15-cv-01893-JEO
OF ENGINEERS, et al.,        )
                             )
      Defendants,            )
                             )
and                          )
                             )
GLOBAL MET COAL (USA) CORP., )
                             )
      Defendant-Intervenor.  )


                          MEMORANDUM OPINION

      This case involves the issuance of a permit by the United States Army Corps

of Engineers (“Corps”) for the Black Creek Mine pursuant to Section 404 of the

Clean Water Act (“CWA”). The permit authorizes Global Met Coal Corporation

(“Global Met”) to discharge dredge or fill material into waters of the United States,

specifically Crooked Creek and the Locust Fork of the Black Warrior River, in

Jefferson County, Alabama, in connection with surface coal mining operations.

Plaintiffs Black Warrior Riverkeeper, Inc. and Defendants of Wildlife contend the

permitting violates the Endangered Species Act (“ESA”), 16 U.S. C. §§ 1531-
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1544, as well as the National Environmental Policy Act (“NEPA”), 42 U.S.C. §§

4321-4370f.1      Plaintiffs ask the court2 to vacate and remand the permit for

compliance with these statutes.

       The court has before it three motions for summary judgment. Plaintiffs filed

a motion for summary judgment (doc. 54), and each Defendant filed a cross motion

for summary judgment, (docs. 59, 61). All motions are fully briefed, (docs. 55, 58,

59-1, 60, 62-64), and ripe for decision. For the reasons that follow, Plaintiff’s

motion for summary judgment is due to be denied and Defendants’ motions for

summary judgment are due to be granted.

I.     REGULATORY FRAMEWORK

       Two statutes are at play in this case, the ESA and the NEPA. Before diving

into the factual and procedural background of the case, the court first discusses the

underlying regulatory framework for the permit decision at issue.




1
  Although the amended complaint asserts claims under the CWA, Plaintiffs abandoned these
claims at the summary judgment stage. (See Docs. 55, 62, 65). As such, summary judgment is
proper as to all claims alleging violation of the CWA. See Road Sprinkler Fitters Local Union
No. 669 v. Indep. Sprinkler Corp., 10 F.3d 1563, 1568 (11th Cir. 1994) (district court “properly
treat[ed] as abandoned a claim alleged in the complaint but not even raised as a ground for
summary judgment”).
2
 The action was originally assigned to the undersigned United States Magistrate Judge pursuant
to 28 U.S.C. § 636(b) and the court’s general order of reference dated January 2, 2015. The
parties have since consented to an exercise of plenary jurisdiction by a magistrate judge pursuant
to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73. (Docs. 15, 30).

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      A. The Endangered Species Act

      The ESA charges federal agencies with the task of carrying out the

Congressional policy of conserving endangered or threatened plant and animal

species. 16 U.S.C. § 1531(b). Section 4 of the ESA directs the Secretaries of the

Interior and Commerce to determine whether a species should be listed as either

“endangered” or “threatened.” 16 U.S.C. § 1533. It also directs them to designate

critical habitats for such listed species to the “maximum extent prudent and

determinable.” 16 U.S.C. § 1533(a)(3)(A).

      To that end, section 7 of the ESA requires every federal agency to insure that

its actions are not likely to “jeopardize the continued existence of any species listed

as endangered or threatened or result in the destruction or adverse modification of

habitat of such species. . . .” 16 U.S.C. § 1536(a)(2).   If the agency proposing the

action (“action agency”) determines that its action will have “no effect” on listed

species or critical habitat, no consultation is required. See 50 C.F.R. § 402.14(a).

If, however, the action agency determines that its action “may affect” a listed

species or critical habitat, it must consult informally or formally with either the

Fish and Wildlife Service (“the Service”) or the National Marine Fisheries Service

(“NMFS”), depending on the species at issue. 50 C.F.R. § 402.14(a)-(b).

      Informal consultation is “an optional process that includes all discussions,

correspondence, etc., between [an action agency and consulting agency], designed

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to assist the [action] agency in determining whether formal consultation . . . is

required.” 50 C.F.R. § 402.13(a). “If during informal consultation it is determined

by the [action] agency, with the written concurrence of the [consulting agency],

that the action is not likely to adversely affect listed species or critical habitat,

[then] the consultation process is terminated, and no further action is necessary.”

Id. But if formal consultation is required, the consulting agency must prepare a

biological opinion advising the action agency regarding “whether the action . . . is

likely to jeopardize the continued existence of listed species or result in the

destruction or adverse modification of critical habitat.” 50 C.F.R. § 402.14(g)(4).

      B. The National Environmental Policy Act

      Agencies are also required by statute to consider the environmental

consequences of their actions more generally. See Hill v. Boy, 144 F.3d 1446,

1449 (11th Cir. 1998); C.A.R.E. Now, Inc. v. Fed. Aviation Admin., 844 F.2d 1569,

1572 (11th Cir. 1988). While not a substantive environmental statute, NEPA

creates “a particular bureaucratic decisionmaking process” and has “twin aims.”

Baltimore Gas & Elec. Co. v. Natural Res. Defense Council, 462 U.S. 87, 97

(1983). First, NEPA forces government agencies to “consider every significant

aspect of the environmental impact of a proposed action.” Id. (quotation omitted).

Second, NEPA mandates that government agencies inform the public of the




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potential environmental impacts of proposed actions and explain how their

decisions address those impacts. Id.

      “NEPA establishes procedures that a federal agency must follow before

taking any action.” Sierra Club v. Van Antwerp, 526 F.3d 1353, 1360 (11th Cir.

2008).    To comply with NEPA, an agency must first determine whether the action

is a “major federal action[] significantly affecting the quality of human

environment.”    42 U.S.C. § 4332(c); Sierra Club v. U.S. Army Corps of Eng’rs,

295 F.3d 1209, 1214-15 (11th Cir. 2002). This determination generally requires

preparation of an environmental assessment (“EA”). 40 C.F.R. § 1501.4; Hill, 144

F.3d at 1450). The EA is a brief and concise document containing sufficient

evidence and analysis that allows the agency to determine whether to prepare a

more detailed statement of environmental consequences, known as an

Environmental Impact Statement (“EIS”). 40 C.F.R. §§ 1501.4, 1508.9. The EA

must “include brief discussions of the need for the proposal, of alternatives as

required by section 102(2)(E), of the environmental impacts of the proposed action

and alternatives, and a listing of agencies and persons consulted.” 40 C.F.R. §

1508.9(b). This review includes both the direct and indirect impacts. 40 C.F.R. §

1508.8. “The EA should provide enough evidence and analysis to guide the

agency to one of two conclusions: (1) a finding that the project will have a

significant effect, or (2) a finding of no significant impact.” Sierra Club, 295 F.3d

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at 1215. If the Corps decides that the environmental consequences of the action

are not sufficient to justify the preparation of an EIS, the agency must prepare a

finding of no significant impact “briefly presenting the reasons why an action . . .

will not have a significant effect on the human environment and for which an [EIS]

therefore will not be prepared.” 40 C.F.R. § 1508.13.

II.    ADMINISTRATIVE RECORD AND PROCEDURAL HISTORY

       A. The § 404 Permit for Black Creek Mine

       In September 2012, Global Met applied for a § 404 permit for a surface coal

mine, the Black Creek Mine, in Jefferson County, Alabama. 3 (USACE11; USACE

3907-08).4 The Locust Fork River is on the western border of the proposed mine

and Crooked Creek surrounds the northern border and over half of the eastern

border. (USACE69; see also Docs. 55-1 and 55-2).

       In October 2012, the Service notified the Corps that nine listed aquatic

species, and one candidate species, may live within or near the proposed Black



3
  The Corps does not have authority under § 404 to regulate water quality of point source
discharges. Instead, § 402 of the CWA, the National Pollutant Discharge Elimination System
(“NPDES”), confers that authority to the Alabama Department of Environmental Management
(“ADEM”). ADEM must first issue a § 401 water quality certification before the Corps can
issue a § 404 permit. ADEM issued the required water quality certification on June 16, 2014.
(USACE2005, USACE3905).
4
  Citations throughout this section and the discussion section are to the two administrative
records from both of the agencies involved in the permit decision. Citations to the Corps’ record
are designated as USACE[number] and citations to the Fish and Wildlife Services’ record are
designated as FWS[number]. These numbers are bates stamped on the bottom of the pages of
the administrative record.
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Creek Mine. (USACE69, USACE3914). The Service also noted that six of the

nine species, specifically the mussel species, had designated critical habitat

abutting the mine in the Locust Fork. (USACE69).

       Yokley Environmental Consulting Service surveyed the project area in

October 2012. Yokley found suitable habitat for mussel and Cahaba shiners, as

well as plicate rocksnails, a federally listed species, in the project area.

(USACE3943). After reviewing the survey, in December 2012, the Service stated

it was “troubled” by the current sediment load in Crooked Creek, (FWS49), and

“expressed concern with the habitat quality in Locust Fork” and “recommended

strict adherence to best management practices . . . and proposed sediment controls

(i.e. sediment ponds, diversion, silt fencing, etc.).” (USACE3914-15; FWS74-75).

Additionally, the Service noted the 100-foot setback along both creeks and stated it

“appreciate[d] any additional measures that would give additional buffer or

sediment protections to these creeks, as any additional impairment will only further

degrade an already stressed habitat.” (FWS75). That being said, the Service

concluded that if best management practices and sediment controls were

implemented and fully adhered to, impacts to the listed aquatic species could be

minimized. (Id.). The Service did not require any further endangered species

consultation unless there was some sort of change in the project or information

related to the listed species. (Id.).

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      In June 2013, Global Met submitted the application and mitigation plan for

its § 404 permit to the Corp. (USACE3915). The public had an opportunity to

comment on the application between late June and late August 2013.

(USACE3908, USACE3923). The Service did not submit any comments. At the

end of the comment period, the Corps contacted the Service and it responded that it

“did not intend to submit comments to the Corps because they did not have any

additional comments to add” since those stated in December 2012. (USACE3915).

      The Corps requested and received a § 401 water quality certification from

the Alabama Department of Environment Management (“ADEM”) in June 2014.

(USACE3908, USACE2005).         Six month later, in December 2014, the Corps

issued an EA for the permit for the Black Creek Mine. (USACE3905-71, USACE

3920-28). The Corps concluded that the permit would have “no effect” on each of

“the species of concern in the project area.” (USACE3919, USACE3956-57).

      B. Suspension of the Permit

      On July 24, 2015, Plaintiffs sent a notice of intent to sue to the Department

of the Interior, Fish and Wildlife Service, and the Corps challenging the Black

Creek Mine permit and asserting that the Corps failed to comply with the

consultation requirements of the ESA in reaching its determination that the project

would have no effect on the listed species. (USACE3615-26). After receipt of the

notice of intent, the Corps internally reviewed the permit, and on September 25,

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2015, concluded the permit should be suspended “to re-evaluate the effects of the

project to threatened and endangered species and critical habitat.” (USACE3660-

61).

       The instant complaint was filed on October 27, 2015. (Doc. 1). Plaintiffs

sought a declaratory judgment that the permit is invalid and an injunction requiring

Global Met to suspend activities authorized under the permit, among other relief.

(Id.). Three days later, on October 30, 2018, the Corps suspended the permit to

conduct additional consultation with the Service. (USACE3615, USACE4076-77).

Based upon this suspension and upon joint motion of the parties, the court stayed

the complaint pending the completion of the consultation with the Service. (Docs.

10-11, 14, 17, 19, 21, 31).

       C. Re-evaluation of the Permit

       For purposes of the re-evaluation, the Corps identified 13 listed or candidate

species that “have the potential to occur in the action area.” (USACE5839-40).

Those species included the following:

    6 mussel species: Alabama moccasinshell (threatened), orangenacre mucket
     (threatened), ovate clubshell (endangered), upland combshell (endangered),
     triangular kidneyshell (endangered) and dark pigtoe (endangered)
    1 snail species: plicate rocksnail (endangered)
    1 salamander species: Black Warrior waterdog (candidate)
    1 turtle species: flattened musk turtle (threatened)
    2 fish species: rush darter and Cahaba shiner (endangered)
    2 bat species: Indiana bat and northern long-eared bat


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         As part of the process, and at the request of the Alabama Surface Mining

Commission (“ASMC”), Global Met contracted with biologists at CCR

Environmental Inc. (“CCR”) to conduct an updated species and habitat survey.

(See USACE5911, 5750-83).               CCR conducted an aquatic species survey of

Crooked Creek and Locust Fork on April 26-28, 2016. (See USACE5750-83). No

listed aquatic species were found and “[s]uitable habitat was lacking from much of

the project area.” (USACE5756). That being said, the CCR survey noted a “large

shoal in Locust Fork immediately downstream of Crooked Creek [that] had some

suitable habitat for the target mollusk and fish species and the [flattened musk

turtle] and [Black Warrior waterdog” as well as a “pooled area [with] some

marginally suitable habitat for the black-knobbed map turtle and Alabama map

turtle.” (Id.). Additionally, CCR conducted a habitat assessment for potential

summer and winter habitat for the Indiana bat and northern long-eared bat on

January 11-1, 2016, and January 26, 2016. (See USACE5785-835). “No known or

observed sites . . . [for] winter hibernating habitat” were found and the “potential

summer maternity roosting habitat . . . is only present on 11.7 acres of the project

area.”5 (USACE5811).

         On July 7, 2016, based on these updated surveys, the Corps initiated

informal consultation with the Service. (USACE 5839-41). The letter included


5
    The 11.7 acres of potential summer roosting bat habitat was later cleared. (USACE5714).
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copies of the updated species and habitat survey reports, the information regarding

the bat habitat, and a summary of the effects determination made by the Corps.

Specifically, the Corps informed the Service that the following species have the

potential to occur in the action area: the Alabama moccasinshell, orangenacre

mucket, ovate clubshell, upland combshell, triangular kidneyshell, dark pigtoe,

flattened musk turtle, Black Warrior waterdog, plicate rocksnail, rush darter,

Cahaba shiner, Indiana bat, and northern long eared bat. (USACE5839-40). It also

stated that the Locust Fork adjacent to the project area is designated a critical

habitat for the six mussels listed above. (USACE5840). Although none of the

listed aquatic species were found in the CCR study, the Corps found “there is

designated critical habitat and presence of some suitable habitat for some of the

listed species in Locust Fork.” (Id.). As such, the Corps determined the project

“may affect” the following species:      the Alabama moccasinshell, orangenacre

mucket, ovate clubshell, upland combshell, triangular kidneyshell, dark pigtoe,

flattened musk turtle, Black Warrior waterdog, plicate rocksnail, and Cahaba

shiner. That being said, because of the minimum 100-foot setback, as well as

utilization of best management practices to minimize potential adverse impacts to

water quality, the Corps determined the project was “not likely to adversely affect”

the species listed above and designated critical habitat for the six mussels.” (Id.).

Additionally, the Corps determined the project “would have ‘no effect’ to the rush

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darter due to the lack of available habitat in the action area” and “would have ‘no

effect’ to the Indiana bat and northern long-eared bat because the summer roosting

habitat was removed within the recommended tree clearing time frame . . . and

there is no winter habitat in the action area.” (USACE5841).

       The Service responded on July 14, 2016, and concurred with the effects

determinations made by the Corps. (USACE5843-44). Specifically, the letter

stated that as long as best management practices are installed and properly

maintained throughout the life of the project to minimize erosion and

sedimentation, the Service concurred with the Corps’ determination of “may affect,

but not likely to adversely affect” the designated species. (Id.). The Service

further agreed with the “no effect” determination given the habitat of the rush

darter, Indiana bat, and northern long-eared bat, although it was not required to do

so. (Id.).

       Approximately two months later, the Corps received a letter from Mark

Bailey of Conservation Southeast, Inc., dated September 26, 2016. (USACE5846-

49). The letter commented on the survey work performed by CCR regarding the

flattened musk turtle and Black Warrior waterdog. Generally, Bailey questioned

the expertise of the biologist who conducted the aquatic species survey and

asserted CCR significantly deviated from protocol for flattened musk turtle

sampling during the survey. (USACE5846-48). A few weeks later, the Corps

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received a letter from Douglas N. Shelton of the Alabama Malacological Research

Center, who also commented on the survey work done by CCR.                         Shelton

specifically criticized the mollusk survey work and questioned the qualifications of

the biologist who conducted the survey. (USACE5851-55).

       Additionally, the Corps received a mollusk survey report conducted by Dr.

Michael Gangloff dated December 22, 2016.6 (USACE5856-83). Dr. Gangloff

conducted mollusk surveys in the Locust Fork on October 28 and 29, 2016. Four

sites in Locust Fork were sampled. Site 1 is approximately 2,200 feet downstream

of the action area and approximately 4,600 feet downstream of the Crooked Creek

confluence with Locust Fork. Site 2a is located on the left descending bank and

mid channel immediately downstream of the Crooked Creek confluence and within

the action area. Site 2b is located on the right descending bank of Locust Fork just

upstream of the Crooked Creek confluence and outside of the action area. Site 3 is

located on Locust Fork approximately 6,900 feet upstream of the Crooked Creek

confluence and outside of the action area. Populations of the plicate rocksnail

were found at Site 1, Site 2b, and Site 3. Dr. Gangloff also recovered two fresh

dead shells of the triangular kidneyshell at Site 1. (USACE5857-83).

       Finally, the Corps received a survey report prepared by Drs. Bernard

Kuhajda and David Neely of the Tennessee Aquarium Conservation Institute dated

6
 The report states it was prepared for Black Warrior Riverkeeper, Southern Environmental Law
Center, and Defenders of Wildlife. (USACE5857).
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December 28, 2016.7 (USACE5885-900).               Drs. Kuhajda and Neely conducted

fish surveys at six sites on the Locust Fork and Crooked Creek on October 13,

2016. (USACE5886).         A total of 23 species of fish were collected, 40 of which

were Cahaba shiners. (USACE5887). Over half, or 26 of the Cahaba shiners, were

found in the riffle upstream of the mouth of Crooked Creek, 11 in the first riffle

downstream of the mouth of Crooked Creek, 1 in the second riffle downstream of

the mouth of Crooked Creek, and 2 in the third riffle downstream of the mouth of

Crooked Creek. (Id.). Among other collected fish species, the survey also noted

collection of the coal darter, an imperiled fish species. (Id.).

      On January 31, 2017, after consideration of the documents and surveys

submitted, the Service wrote a letter to the Corps addressing each document and

made recommendations for further assessments by the Corps. (USACE5902-09).

As for Bailey’s concerns, the Service disagreed with his assessment that the

biologist lacked the expertise to conduct the flattened musk turtle sampling and

that he significantly deviated from sampling protocol. (USACE5904-05). That

being said, the Service did agree that the trapping duration for the flattened musk

turtle was inappropriately shortened from a minimum of three consecutive days

and nights to two nights. (USACE5905). The Service also agreed that CCR under

surveyed the study area for the flattened musk turtle and that the sampling for the

7
 The survey was prepared for Black Warrior Riverkeeper, Southern Environmental Law Center,
and Defenders of Wildlife. (USACE5885).
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Black Warrior waterdog was not conducted during the most ideal conditions

because it is a winter species and sampling was done in the spring.             (Id.).

However, the Black Warrior waterdog was only a candidate and not threatened or

endangered species at the time of the survey, so no survey for that species was

required. (USACE5906). Further, with regard for Shelton’s letters, the Service

reiterated that it had no reason to question the biologist’s qualifications and found

no indications that the mollusk survey was inadequate. (USACE5906-07).

      As for Dr. Gangloff’s mollusk survey, the Service agreed that CCR did not

survey the same upstream or downstream reaches surveyed by Dr. Gangloff.

(USACE5907). When questioned by the Service, the CCR biologist could not

provide any insight as to why he did not locate any plicate rocksnail on the right

descending bank. (USACE5907-08). That being said, the Service noted large

differences in flow rates between the CCR and Gangloff surveys. (USACE5908).

The flows in Locust Fork were very high during the CCR survey, but Dr.

Gangloff’s survey took place during a drought and the flow was significantly

lower. (Id.). The Service noted that Dr. Paul Johnson of Alabama Department of

Conservation and Natural Resources stated that plicate rocksnails move to the

deepest parts of the channel during high flows and can be harder to survey during

those conditions. (Id.). During low flows they tend to distribute across the channel




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margins. (Id.). The Service opined that the flow difference might explain the lack

of plicate rocksnails identified during the CCR survey. (Id.).

      Additionally, Dr. Gangloff noted a likely misidentification of 43 southern

fatmucket mussels by the CCR biologist. (Id.). The Service again spoke with Dr.

Johnson who indicated these mussels were likely triangular kidneyshells that came

to the surface to spawn during April and the two mussels can be confused given

similar shell characteristics. (Id.). Dr. Johnson indicated it is unlikely that such a

large number of fatmucket mussels would have been found in this location. (Id.).

The question, however, could not be resolved because the CCR biologist did not

take any pictures of what he labeled as the southern fatmucket. (Id.).

      Finally, with regard to the fish survey report of Dr. Kuhajda and Neely, the

Service could not determine why CCR or Yokley did not find any Cahaba shiners

in their previous surveys. (USACE5908). The Service agreed that given the latest

survey with documented photographs, the Cahaba shiner is present within the

Locust Fork, adjacent to the proposed mine. (Id.).

      The Service recommended that the new information presented in Dr.

Gangloff’s and Drs. Kuhajda and Neely’s reports be assessed by the Corps.

(USACE5909). The Service also stated that the Corps should obtain additional

surveys for the flattened musk turtle and Black Warrior waterdog given the

shortened survey length for the flattened musk turtle and the proposed listing as

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endangered for the Black Warrior waterdog. (Id.). Following these actions, the

Service instructed the Corps to prepare a new effects determination. (Id.).

      On February 13, 2017, the Corps responded to the recommendations made

by the Service. Specifically, the Corps stated as follows:

             The [Corps] agrees with the [Service] that the sampling length
      for the [flattened musk turtle] was improperly shortened by CCR. We
      also recognize that the [Black Warrior waterdog] has recently been
      proposed for listing as endangered under the ESA. The [Corps]
      understands there is suitable habitat for the [flattened musk turtle] and
      [Black Warrior waterdog] in Locust Fork adjacent to the proposed
      mine site; however, the presence or absence of these species does not
      change the [Corps’] effects determination. The applicant has not
      proposed direct impacts to the Locust Fork therefore the [Corps] will
      not require additional surveys for the [flattened musk turtle] and
      [Black Warrior waterdog].

              The applicants [sic] mining plan proposes a minimum 100 foot
      setback along Locust Fork and Crooked Creek as well as utilization of
      best management practices (BMP) to minimize potential adverse
      impacts to water quality. The Alabama Department of Environmental
      Management (ADEM) has issued a Clean Water Act Section 402
      National Pollutant Discharge Elimination Standard (NPDES) permit.
      All surface drainage from disturbed areas must be passed through a
      siltation structure prior to leaving the project boundary as per ASMC
      Regulations . . . . All discharges from the sediment ponds are required
      to meet NPDES standards and must fall within the recommended
      ranges for fresh water organisms. . . . The USACE has no reason to
      believe otherwise that the applicant will meet the requirements of the
      NPDES permit issued by ADEM. Any secondary impact associated
      with the discharge of fill material would be insignificant in that take
      would not occur because of the BMP requirements established in the
      ADEM NPDES permit.

             For these reasons the USACE has determined the project “may
      affect” but is “not likely to adversely affect” the Alabama
      moccasinshell, orangenacre mucket, ovate clubshell, upland
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      combshell, triangular kidneyshell, dark pigtoe, [flat musket turtle],
      (Black Warrior waterdog], plicate rocksnail, Cahaba shiner, or any
      designated critical habitat for the six mussels listed above.

(USACE5912-13). The letter ended by asking for an evaluation of the project and

comments and/or concurrence regarding the effects determination within 30 days.

(USACE5913).

      On March 8, 2017, the Service concurred with the Corps’ effects

determination.    (USACE5915-16).        The Service noted the initial effects

determination and review of the information and surveys by Bailey, Shelton,

Gangloff, Kuhajda and Neely, as well as the previous recommendation that the

Corps prepare a new effects determination on the basis of specific findings.

(USACE5915). The Service summarized the revised determination and concluded

that “[b]ased upon a review of our records and the information provided in your

[February 13, 2017] letter, we concur with your determination that the project

actions may affect, but are not likely to adversely affect the listed species listed

above.” (USACE5915-16).

      On April 24, 2017, the Corps published a Supplemental Environmental

Assessment (“EA”) regarding the project. (USACE5712-47). The Supplemental

EA detailed the above chronology of events, (USACE5713-19), and stated the

Corps’ final ESA effects determination, (USACE 5720-21).           The action area




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included the entire mine site and approximately 2,600 feet of Locust Fork and

6,400 feet of Crooked Creek adjacent to the project boundary.8 (USACE5720).

       The Corps then went on to evaluate its compliance with the guidelines

enumerated in Section 404(b)(1) of NEPA. In its cumulative impact analysis, the

Corps identified the relevant geographic areas as the Lower and Middle Locust

Fork.9 (USACE5734). It identified the direct impacts as the fill of ephemeral and

intermittent streams as well as wetland, and the indirect impacts as water quality

issues, dust, and ambient noise. (USACE5735). The Corps concluded that any

water quality issues would be addressed through the National Pollutant Discharge

Elimination System (“NPDES”) permit for the mine. (Id.).

       The Corps then considered a wide variety of other activities within the

project geographic area. The Corps acknowledged that coal mining and timber

removal activities had occurred in the region for several decades, but because these

activities occurred before the enactment of the Surface Mining Control and



8
  The Corps explained that “[d]esignated critical habitat exists in Locust Fork adjacent to the
project site to the west [and] Crooked Creek is a perennial stream adjacent to the project site to
the north and east.” (USACE5720). Because of “the close proximity of the project to Locust
Fork and Crooked Creek the ESA action area extends to assess the effects of proposed activities
on eligible species in Locust Fork and Crooked Creek adjacent to the project site.” (Id.).
9
  In the original EA, the Corps identified only the Lower Locust Fork as the relevant geographic
area. (USACE3944-45). The complaint, however, challenged that area and contended the
cumulative impact analysis should include the Middle Locust Form in the cumulative impact
analysis. Although the Corps disagreed, it included both the Lower and Middle Locust Fork in
its supplemental EA because of the allegations in the complaint. (USACE5734).
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Reclamation Act (“SMCRA”)10 and the CWA, the Corps found that these “pre-

SMCRA and pre-CWA impacts are relevant as they have set a baseline condition

for water quality and aquatic habitat values within the watershed.” (USACE5737).

The Corps identified other active and abandoned coal mines and found this land

collectively accounted for approximately 3.8% of the entire watershed, with 1.6%

being active mines. (USACE5739). The Corps acknowledged ADEM had placed

the Locust Fork on its § 303(d) list, but noted that the list attributes this impairment

to “agriculture and abandoned surface mines.” (USACE5738). Finally, the Corps

acknowledged the prevalent residential and commercial development within the

watershed which has also contributed to the baseline condition. (USACE5741).

       Turning to the cumulative effects of these activities, the Corps concluded

that active mining would increase the levels of disturbed land within the watershed,

but that concomitant reclamation acreage would also increase. The Corps noted

that “water quality associated with streams in this watershed has not been

significantly impacted by permitted mining activities.” (USACE5742). Thus, the

Corps found “the watershed would continue to assimilate the mining activities that

are occurring within the watershed provided those activities are conducted in




10
   The Surface Mining Control and Reclamation Act of 1977 is the primary federal law that
regulates the environmental effects of coal mining in the United States. The SMCRA created two
programs: one for regulating active coal mines and a second for reclaiming abandoned mine
lands. 30 U.S.C. § 1201, et seq.
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accordance with the terms and conditions of the SMCRA and CWA

authorizations.” (Id.).

      In its conclusion, the Corps again acknowledged mining activities before

1977, when the SMCRA was enacted, “most likely resulted in some cumulative

impacts,” but that “current . . . CWA requirements and SMCRA regulations are

very rigorous and mining activities are more closely regulated.” (USACE5745).

In fact, the Corps noted that “[r]ecent water quality and biological data has

indicated the watershed is sufficiently absorbing the impacts without significant

aquatic impairment and/or degradation.” (USACE5745). The Corps concluded

that “[i]n this context, it is not expected that Black Creek Mine would, when

combined with other mining activities within the Middle and Lower Locust Fork

watersheds, result in significant cumulative impacts to the human and/or aquatic

environment.” (USACE5745-46).

      The Corps, therefore, recommended reinstatement of the permit but

modified to include the minimum 100-foot setback along Locust Fork and Crooked

Creek and to install and maintain best management practices throughout the life of

the project to minimize erosion and sedimentation. (USACE5746). The Corps

made the “final determination that the reinstatement of this permit, with an

additional special condition, will not have a significant adverse effect on the




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quality of the human environment; therefore, an environmental impact statement”

is not required. (Id.).

       D. Reinstatement of the Permit

       On May 10, 2017, the Corps authorized reinstatement of the permit subject

to the acceptance of the special conditions of the 100-foot setback and installation

and maintenance of best management practices to minimize erosion and

sedimentation. (USACE6159). Global Met accepted reinstatement of the permit

with the special conditions on May 12, 2017. (USACE6161). Upon reinstatement

of the permit, Plaintiffs filed an amended complaint on September 13, 2017, and

the stay was automatically lifted. (Docs. 31, 42).

III.   STANDARD OF REVIEW

       Generally, summary judgment is appropriate where “the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). However, in the case of a

district court reviewing final agency action, as here, the rules governing summary

judgments do not apply because of the limited role of a court in reviewing the

administrative record. See N.C. Fisheries Ass’n, Inc. v. Gutierrez, 518 F. Supp. 2d

62, 79 (D.D.C. 2007); J.N. Moser Trucking, Inc. v. U.S. Dep’t of Labor, 306 F.

Supp. 2d 774 (N.D.Ill. 2004). It is the role of the agency to resolve factual issues

to arrive at a decision that is supported by the administrative record, whereas “the

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function of the district court is to determine whether or not as a matter of law the

evidence in the administrative record permitted the agency to make the decision it

did.”    Occidental Eng'g Co. v. INS, 753 F.2d 766, 769-70 (9th Cir. 1985).

Summary judgment thus serves as the mechanism for deciding, as a matter of law,

whether the agency action is supported by the administrative record and otherwise

consistent with the standard of review. See Bloch v. Powell, 227 F. Supp. 2d 25,

31 (D.D.C. 2002) (citing Richards v. INS, 554 F.2d 1173, 1177 & n.28

(D.C.Cir.1977)).

        The Corps’ decision to grant the Section 404 permit is subject to judicial

review under the Administrative Procedures Act (“APA”). Pursuant to the APA,

the court can “hold unlawful and set aside agency action, findings, and

conclusions” that are “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law.” 5 U.S.C. § 706(2)(A). “[T]his standard is exceedingly

deferential . . . .” Fund for Animals, Inc. v. Rice, 85 F.3d 535, 541 (11th Cir.

1996).     “The reviewing court may not substitute its judgment for that of the

agency but must, instead, defer to the agency’s technical expertise.”         City of

Oxford, Ga. v. F.A.A., 428 F.3d 1346, 1352 (11th Cir. 2005); see also Coal. on

Sensible Transp., Inc. v. Dole, 826 F.2d 60, 66 (D.C. Cir. 1987) (“The NEPA

process involves an almost endless series of judgment calls . . . . The line-drawing




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decisions necessitated by this fact of life are vested in the agencies, not the

courts.”).

      This court is “required to determine whether the Corps’ decision was

reasonably supported by the information before it. This does not require that all of

the data support the agency’s decision.” Envtl. Coal. of Broward Cnty. v. Myers,

831 F.2d 984, 986 (11th Cir. 1987). “Nevertheless, the agency must examine the

relevant data and articulate a satisfactory explanation for its action including ‘a

rational connection between the facts found and the choice made.’” Motor Vehicle

Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)

(quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168, (1962)).

Specifically with regard to NEPA, “[t]his standard requires substantial deference to

the agency, not only when reviewing decisions like what evidence to find credible .

. . , but also when reviewing drafting decisions like how much discussion to

include on each topic, and how much data is necessary to fully address each issue.”

Van Antwerp, 526 F.3d at 1361.

IV. DISCUSSION

      Plaintiffs’ arguments fall into two main categories.          The first set of

arguments address the decision of the Corps, and concurrence by the Service, that

the project may affect, but not likely to adversely affect the listed species under the




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ESA. (Doc. 55 at 25-35).11 Second, Plaintiffs argue the Corps violated NEPA

because it did not properly analyze cumulative impacts of the project. (Id. at 35-

38). The court addresses each below.

       A. “Not Likely to Adversely Affect” Determination under the ESA

       Plaintiffs make a number of arguments regarding the Corps’ determination

that the project may affect but is not likely to adversely affect the listed species

under the ESA and the Service’s concurrence with that finding. Plaintiffs contend

the findings of the Corps are arbitrary and capricious because the Corps: (1) failed

to use the best scientific and commercial information available, (doc. 55 at 25-29;

doc. 62 at 4-11); (2) unlawfully determined that the Black Creek Mine would not

adversely modify critical habitat, (doc. 55 at 29-31) and failed to adequately

consider the mine’s direct and indirect impacts, (doc. 62 at 11-13); (3) arbitrarily

and capriciously relied on the ADEM permit and ASMC’s buffer to avoid formal

consultation, (doc. 55 at 31-32; doc. 62 at 17-21); and (4) did not complete

consultation with the Service, (doc. 55 at 33; doc. 62 at 13-17). Finally, with

regard to the Service, Plaintiffs argue it violated the ESA when it arbitrarily and

capriciously concurred in the “not likely to adversely affect” finding of the Corps.

(Doc. 55 at 33-35; Doc. 62 at 21-22).



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  Page references are to the electronic page numbers assigned by the Clerk of the Court found at
the top of each document.
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             1. Use of the Best Scientific and Commercial Information
             Available

      Plaintiffs first contend the Corps ignored available scientific evidence and

studies showing that the Black Creek Mine will adversely affect the endangered

aquatic species living in the project area and instead “relied on patently deficient

species surveys at the site conducted by the mining company’s consultants.” (Doc.

55 at 26-29; Doc. 62 at 7-11). In support of this argument, Plaintiffs highlight the

scientific evidence that sediment from mining is harming the listed species and

critical habitat, including the mollusk survey from Dr. Gangloff, the fish survey

from Drs. Kuhajda and Neely, and the flattened musk turtle information from

Bailey. (Doc. 55 at 26-28; Doc. 62 at 9-10). Plaintiffs contend the Corps did not

discuss this information, or attempt to explain why the information and opinions

contained therein are wrong. (Doc. 55 at 28). Plaintiffs also point out the fact that

the CCR survey failed to find any endangered species at the site. (Doc. 62 at 7).

      The vast majority of Plaintiff’s argument runs afoul of the highly deferential

standard the court must give the agencies decisions in a case such as this one where

the court is called upon to review determinations involving the Corps’ technical

expertise. See Marsh, 490 U.S. at 375-78. The standard mandates affirmance of

the agency action if a rational basis for the agency’s decision is presented,

Bowman Transp. v. Arkansas-Best Freight System, 419 U.S. 281, 290 (1974), even

when the court might otherwise disagree, United States v. Allegheny–Ludlum Steel
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Corp., 406 U.S. 742, 749 (1972). In other words, courts may not intrude upon the

discretion of the agency to choose the course of action to be taken. Kleppe v.

Sierra Club, 427 U.S. 390, 412 (1976); see also Strycker’s Bay Neighborhood

Council, Inc., v. Karlen¸ 444 U.S. 223, 228 (1980); North Buckhead Civic Ass’n v.

Skinner, 903 F.2d 1533, 1539 (11th Cir. 1990) (the court should set aside

administrative decisions only for substantial reasons, “not simply because the court

is unhappy with the result reached.”).

       Despite Plaintiffs’ argument to the contrary, the record shows that the Corps

considered the information and comments submitted, but determined the additional

information did not alter its assessment that the project was not likely to adversely

affect the listed species or critical habitat. For example, the Corps addressed the

Gangloff report, but reasoned that his observations occurred either upstream or as

far as one thousand meters downstream from the confluence of Crooked Creek

with Locust Fork. (See USACE5912). Similarly, the Corps noted that the majority

of the Cahaba Shiners observed in the Kuhajda and Neely report were located

upstream of the mouth of Crooked Creek. (Id.). Additionally, Bailey’s objections

to CCR’s sampling methods for the flattened musk turtle were rejected, with the

exception of the shortened sampling duration.12 (Id.).


12
   The court rejects Plaintiffs’ argument and scientific evidence regarding coal mines in general.
(Doc. 62 at 7-8). This evidence does not support their contention that the Corps’ findings
regarding Black Creek Mine and whether it will adversely affect the listed species are arbitrary
                                               27
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       In short, while Plaintiffs clearly disagree with the weighing of the scientific

information by the Corps, it is not the role of this court “to become a tie-breaking

technical expert.” Nat. Res. Def. Council v. U.S. Army Corps of Eng’rs, 2001 WL

1491580, at *9 (S.D. Fla. June 28, 2001). Because the Corps stated a rational basis

for its decision – that setbacks, best management practices, and compliance with

the NPDES permit will minimize any adverse impacts to a listed species - the

highly deferential standard of review prevents the court from second-guessing that

decision. Plaintiffs have not presented sufficient evidence to show that the Corps’

rationale was arbitrary and capricious in its rejection of the additional surveys and

information. See Sierra Club v. Morton, 510 F.2d 813, 818 (5th Cir. 1975) (the

burden is upon the plaintiffs to establish by a preponderance of the evidence that

the decision to proceed was arbitrary and capricious).

              2. Critical Habitat

       In its initial brief in support of summary judgment, Plaintiffs argue “[t]he

Corps unlawfully determined that the Black Creek Mine would not adversely

modify critical habitat.” (Doc. 55 at 21). As the Corps points out, the problem

with this argument is that the Corps did not make a finding that the mine would not

adversely modify critical habitat. Instead, the Corps found that the mine would not



and capricious. Instead, all the evidence shows is that in the abstract coal mines can have an
impact on listed species because they can negatively impact water quality. Such evidence is
insufficient under the deferential standard.
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adversely affect critical habitat. This difference in language is important because

in the consultation context, a specific finding as to whether an action would result

in the adverse modification of a critical habitat is only required in formal

consultation and is the responsibility of the consulting agency, not the action

agency. 50 C.F.R. § 402.14(g)(f). Formal consultation is required if the action

agency determines that the critical habitat (or listed species) is likely to be

adversely affected by an action, something that did not occur here. Instead, where,

as here, during informal consultation the action agency determines, with the

concurrence of the consulting agency, that the proposed action is not likely to

adversely affect the critical habitat (or listed species), the consultation process

terminates and no further action required.               50 C.F.R. § 402.13(a).           As such,

Plaintiffs’ argument is misplaced.

       In their reply/opposition brief, Plaintiffs admit their “misstatement”

regarding modification and then switch gears to argue that the Corps did not

consider the mine’s direct and indirect impacts of the outfall discharges on critical

habitat. (Doc. 62 at 11-13). This argument is similarly misplaced.13 The record


13
   Plaintiffs did not raise this argument in their initial brief. Generally, failure to include
argument regarding an issue in the first instance amounts to an abandonment of the claim. See
Coalition for the Abolition of Marijuana Prohibition v. City of Atlanta, 219 F.3d 1302, 1326
(11th Cir. 2000) (concluding that failure to brief an issue amounts to abandonment of the claim);
McGinnis v. Ingram Equip. Co., 918 F.2d 1491, 1496 (11th Cir. 1990) (citations omitted) (“A
party normally waives its right to argue issues not raised in its initial brief.”); see also Wilkerson
v. Grinnell Corp. 270 F.3d 1314, 1322 (11th Cir. 2001) (finding that an issue not raised until
party’s supplemental reply brief deemed abandoned). That being said, the court will addresses
                                                 29
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shows that the Corps addressed the mine’s likely impact on critical habitat in both

its initial and supplemental EAs.                   (See USACE3919-20, USACE5721).

Additionally, the Corps considered the impact of pollutants and concluded that

because the NPDES permit requires “[a]ll discharges from the sediment ponds . . .

to meet NPDES permit limits,” compliance with the NPDES permit will ensure

that water quality “fall[s] within the recommended ranges for freshwater

organisms.”      (USACE5720-21, USACE1603, USACE2005-06).                        The NPDES

permit specifically addresses the permissible discharge of pollutants, including

cyanide, trivalent arsenic, and lead. (USACE1606-07).

       While Plaintiffs may disagree with the Corps’ ultimate determination

regarding the direct and indirect impacts, it is not the role of this court to second

guess the technical decisions made. See Kleppe, 427 U.S. at 412; see also

Strycker’s Bay Neighborhood Council, 444 U.S. at 228; Skinner, 903 F.2d at 1539.

The record shows that the Corps examined the relevant data and articulated a

satisfactory explanation for its action including a rational connection between the

facts found and the decision. See Motor Vehicle Mfrs. Ass’n of U.S.., 463 U.S. at

43 (citation omitted).




the argument as a more liberal reading of Plaintiffs’ brief could arguably be read to include the
argument.
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              3. Reliance on Other Permits

       Plaintiffs contend the Corps arbitrarily and capriciously relied on the

NPDES permit and 100-foot buffer to avoid formal consultation. (Doc. 55 at 31-

32). Plaintiffs argue the NPDES permit does not protect listed species and the 100-

foot setback is inadequate, especially considering the fact that the buffer is to

minimize erosion and sedimentation and not to keep mine-related toxins out of the

river. (Id.). The court is unpersuaded that the Corps’ reliance on the ADEM

permit and 100-foot buffer was arbitrary and capricious.

       As discussed in detail above, the Corps modified the permit to incorporate

other permit requirements as a special condition to reinstatement.               Specifically,

the permit requires “a minimum setback of 100-feet along Locust Fork and

Crooked Creek” and the utilization of “best management practices14 throughout the

life of the project to minimize erosion and sedimentation.” (USACE6159).

Further, the Corps considered how the water quality standards in the NPDES

permit,15 which require “[a]ll discharges from the sediment ponds” be “within the



14
   Despite Plaintiffs’ statement to the contrary, (doc. 55 at 32), best management practices are
discussed and described at length in the administrative record. (See, e.g., USAC1625-26;
USACE2069-74; USACE2084-93; USACE2183-85).
15
   NPDES permits, which are issued pursuant to § 402 of the Clean Water Act, are based on
standards that limit concentrations of pollutants in “end of pipe” discharges of wastewater. See
33 U.S.C. §§ 1311(a) & (b), 1342(2); see also 40 C.F.R. § 122.1. Permittees must monitor and
test their effluent, and report the results to the permitting agency, ADEM. See 30 C.F.R. §
715.17(b); 40 C.F.R. § 122.41(l); 33 U.S.C. § 1318(a). Compliance with an NPDES permit and
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recommended ranges for fresh water organisms,” (USACE5720-21), would

“minimize potential adverse impacts to water quality.” (USACE5720). The Corps

described the requirement of the NPDES permit that “[a]ll surface drainage from

disturbed areas be passed through a siltation structure prior to leaving the project

boundary” so that those discharges are within the recommended ranges for fresh

water organisms. (USACE5721). Because the Corps “ha[d] no reason to believe

[Global Met] would not meet the requirements of [its] NPDES permit,” it

concluded the Black Creek Mine “may affect” but is “not likely to adversely

affect” the listed species.16 (USACE5721).

       Contrary to the argument of Plaintiffs, the Corps did not “blindly rely” on

other agencies in making its findings. Instead, as the Corps explained, the special

conditions were added to the permit to provide the Corps with a means to

separately ensure compliance with these requirements. Additionally, there is no

reason to assume non-compliance with these requirements. “Administrative action

. . . comes before the courts clothed with a presumption of regularity.” Sierra


the requirements of CWA § 402 thus ensures that the permittee’s activities will not adversely
impact water quality.
16
   Additionally, before a § 404 permit can issue, the permittee must provide the Corps with a §
401 water quality certification. See D’Olive Bay Restoration & Pres. Comm., Inc. v. U.S. Army
Corps of Eng’rs, 513 F. Supp. 2d 1261, 1270 (S.D. Ga. Mar. 12, 2007). ADEM issued the
required water quality certification on June 16, 2014, finding that “there is reasonable assurance
that the discharge resulting from the proposed activities as submitted will not violate applicable
water quality standards . . . , provided the applicant acts in accordance with the following
conditions as specified.” (USACE2005; USACE3905).

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Club, 295 F. 3d at 1223 (citations omitted). Plaintiffs have not provided any valid

reasons why consideration of the protections provided by overlapping permits that

are also designed to limit environmental impacts of the mine as a whole renders the

findings arbitrary and capricious.17

       The court also rejects Plaintiffs’ argument that the 100-foot setback is

inadequate. In support of their argument, Plaintiffs cite an earlier recommendation

from the EPA for a longer setback in connection with another unrelated project

known as Fishtrap Mine #2. (See USACE724-29). Plaintiffs contend that the

recommendation should be read “to refer to all buffers required by SMCRA, not

just the one required by Fishtrap Mine #2.” (Doc. 62 at 18). The court refuses,

however, to read such a broad scope into the EPA’s recommendation, especially

considering the language of the recommendation which specifically refers to the

particular mine and its associated ponds. (USACE726). The EPA did not make a

similar recommendation here, when it was clearly free to do so.18


17
   Furthermore, to the extent that Plaintiffs’ argument challenges the effluent limits in the
NPDES permit, an attack on the § 404 permit is not the proper vehicle. Sections 404 and 402
establish two mutually exclusive permitting programs: § 404 for “dredging or filling” activities,
and § 402 for the discharge of pollutants. 33 U.S.C. §§ 1342, 1344; see Friends of the Crystal
River v. EPA, 35 F.3d 1073, 1075 (6th Cir. 1994) (noting that §§ 402 and 404 provide for two
discrete permitting systems). The correct way to challenge the NPDES permit as inadequate to
protect water quality in the Locust Fork is through ADEM, the action agency. In fact, Plaintiffs
did bring that challenge, but did not succeed. (USACE1587; Doc. 60 at 18). Plaintiffs may not
use the § 404 permit to re-litigate that issue.
18
   The EPA also has veto authority over § 404 permits. 33 U.S.C. § 1344(c). If the EPA
believed that operation in compliance with the permit would have an adverse impact on a listed
species or critical habitat, it could have vetoed the permit.
                                               33
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             4. Completion of Consultation with the Service

      Plaintiffs also argue the Service did not explicitly concur in writing as to

whether the mine would adversely modify critical habitat, and, as such, the Corps

never finished consultation, thereby violating its procedural and substantive duties

under the ESA. (Doc. 55 at 33). As detailed above, the Corps consulted with the

Service on two separate occasions. In both instances, the Corps expressly stated

that the Locust Fork was designated as a critical habitat for six mussel species.

(USACE4425; USACE5518). Both times the Corps determined the § 404 permit

for the mine was not likely to adversely affect either a listed species or designated

critical habitat for the six mussels and asked the Service to concur in its

determination. (USACE4424-25; USACE5517-18; USACE5912-13). In the latter

concurrence, the Service thoroughly summarized the findings of the Corps and

stated: “[b]ased upon a review of our records and the information provided in your

letter, we concur with your determination that the project actions may affect, but

are not likely to adversely affect the listed species mentioned above.”

(USACE5915-16).

      Plaintiffs are correct that the final concurrence letter from the Service omits

the phrase “critical habitat” from the last sentence of its letter. That being said,

“[i]n administrative law . . . there is a harmless error rule.” Nat’l Ass’n of Home

Builders v. Defenders of Wildlife, 551 U.S. 644, 659-60 (2007) (citations omitted).

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An administrative body’s APA deficiency is not prejudicial “‘when [it] is one that

clearly had no bearing on the procedure used or the substance of decision

reached.’” U.S. Steel Corp. v. EPA, 595 F.2d 207, 215 (5th Cir.1979) (quoting

Braniff Airways, Inc. v. C.A.B., 379 F.2d 453, 466 (D.C. Cir. 1967)); see also Ga.

River Network v. U.S. Army Corps of Eng’rs, 2012 WL 930325, at *22-23 (S.D.

Ga. Mar. 19, 2012). Determining whether an APA deficiency is harmless demands

a case-specific inquiry involving “an estimation of the likelihood that the result

would have been different, . . . and a hesitancy to generalize too broadly about

particular kinds of errors when the specific factual circumstances in which the

error arises may well make all the difference.” Shinseki v. Sanders, 556 U.S. 396,

412 (2009).

      Here, it is clear from the other language in the letter and the history of the

informal consultation for the project that the Corps’ decision included the critical

habitat for the six mollusks. The record establishes that the Service concurred in

the entire determination by the Corps and not just the one regarding the listed

species. To be sure, the Service did not issue a letter of non-concurrence regarding

the critical habitat. Considering the administrative record as a whole, the court




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concludes that the omission by the Service of the phrase “critical habitat” from the

final concurrence sentence amounts to harmless error.19

               5. Concurrence by the Service

       In Plaintiffs’ final EPA argument, they contend the concurrence by the

Service was arbitrary and capricious because it changed its opinion that the Corps

should conduct additional surveys with regard to the flattened musk turtle and the

Black Warrior waterdog without any explanation. (Doc. 55 at 33-35; Doc. 62 at

21-22). The court disagrees for the following reasons.

       In its January 2017 letter, the Service noted contradictions in the surveys

provided by Global Met and those provided by the other experts submitted on

behalf of Plaintiffs. (USACE5902-09). The Service “recommend[ed] that the new

information presented by Dr. Gangloff, and Drs. Kuhajda and Neely be assessed by

the Corps” and that “given the improperly shortened [flat musk turtle] survey, and .

. . the new status of [Black Warrior waterdog] as proposed for listing as

endangered, the Corps should obtain additional surveys for those two species.”

(USACE5909).



19
    Because of this conclusion, the court rejects Plaintiffs argument that formal consultation was
required with regard to the critical habitat. (Doc. 62 at 14-15). Formal consultation is only
required when the consulting agency does not concur in the may affect but not likely to affect
conclusion. See 50 C.F.R. § 402.13(a). As explained by the court, the record is clear that the
Service concurred in the Corps’ conclusion regarding both the endangered species as well as the
critical habitat, despite the omission of “critical habitat” from the final concurrence by the
Service.
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       Afterwards, the Corps went back and considered the studies. It determined

that additional surveys were unnecessary because they would not change the

decision. (USACE5517-18). Specifically, in the Supplemental EA, the Corps

stated:

       The [Corps] reviewed the letters and survey reports submitted.20 The
       [Corps] agrees with the [Service] that the sampling length for the
       flattened musk turtle was improperly shortened by CCR. The [Corps]
       also recognizes the Black Warrior waterdog has recently been
       proposed for listing as endangered under the ESA. The [Corps]
       understands there is suitable habitat for the flattened musk turtle and
       Black Warrior waterdog in Locust Fork adjacent to the proposed mine
       site; however the presence or absence of these species does not
       change the [Corps’] effects determination. The applicant has not
       proposed direct impacts to the Locust Fork21; therefore the [Corps]
       will not require additional surveys for the flattened musk turtle and
       Black Warrior waterdog.

(USACE5720) (emphasis added). The Corps further explained that “[a]ll surface

drainage from disturbed areas must be passed through a siltation structure prior to

leaving the project boundary. (Id.). The Corps reasoned that the project includes

“a minimum setback of 100-feet along Locust Fork and Crooked Creek” and

utilizes best management practices “to minimize erosion and sedimentation to

avoid adverse effects” to species and critical habitat. (USACE5721). As such, the


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   As detailed above, the Supplemental EA details a thorough review of the additional
information submitted.
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    The EA stated that the “steams proposed for impact are ephemeral and intermittent streams”
(USACE5725) and delineated that “direct effects involve the discharge of fill material into 5,920
linear feet of ephemeral stream, 3,840 of intermittent stream and 0.72 acre of wetlands.”
(USACE5735).
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Corps concluded that the presence or absence of any listed species in Locust Fork

would not change its determination.

        Thereafter, the Service concurred with this determination. (USACE5915-

16). Rather than changing its decision without explanation, the Service noted the

initial effects determination, review of the new information and surveys by Bailey,

Shelton, Gangloff, Kuhajda and Neely, and its earlier recommendations to the

Corps. However, based on a new review of the record and the Corps’ explanations

for not conducting the new surveys, the Service concurred with the “may affect,

but are not likely to adversely affect” determination regarding all the listed species.

(Id).

        Based on the above, the court cannot conclude that the Service was arbitrary

and capricious in its concurrence in the Corps’ determination.            Instead, the

administrative record establishes that the Service fulfilled its obligations of

informal consultation, as required by the EPA. The Service reviewed the record

and made recommendations to the Corps.           The Corps then responded to the

recommendations and provided reasons why the two additional surveys were not

necessary.    The Service considered the Corps’ response, reviewed the entire

record, and concurred. While Plaintiffs clearly disagree with the concurrence, the

informal consultation process was followed, and Plaintiffs have not established that

the concurrence was arbitrary and capricious.

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      B. Cumulative Impacts Analysis under NEPA

       As explained above, NEPA requires the Corps to assess the cumulative

impacts of a § 404 permit. See 40 C.F. R. § 1508.7. NEPA’s mandate to the

agencies is “essentially procedural . . . . It is to insure a fully informed and well-

considered decision.” Vermont Yankee, 435 U.S. at 558. “NEPA requires federal

agencies to take a ‘hard look’ at the environmental consequences of their actions,

but the statute does not specify how an agency should determine the scope of its

NEPA analysis.” Ohio Valley Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177,

194 (4th Cir. 2009) (citation omitted). A reasonable cumulative impacts analysis

includes a review of the following: “(1) the area in which the effects of the

proposed project will be felt; (2) the impacts that are expected in that area from the

proposed project; (3) other actions - past, present, and reasonably foreseeable

proposed - that have had or are expected to have impacts in the same area; (4) the

impacts or expected impacts from these actions; and (5) the overall impact that can

be expected if the individual impacts are allowed to accumulate.” D’Olive Bay

Restoration & Pres. Comm., Inc., 513 F. Supp. 2d at 1292-93 (quoting Georgia

River Network v. U. S. Army Corps of Eng’rs, 334 F. Supp. 2d 1329 (D. Ga. 2003).

Once an agency has made a decision subject to NEPA’s procedural requirements,

the only role for a court is to insure that the agency has considered the

environmental consequences; it cannot “interject itself within the area of discretion

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of the executive as to the choice of the action to be taken.” Strycker’s Bay, 444

U.S. at 227-28 (citing Kleppe, 427 U.S. at 410 n 21); see also Southwest

Williamson Cnty. Cmty. Ass’n, Inc. v. Slater, 243 F.3d 270, 278 (6th Cir. 2001)

(NEPA is not result-oriented; rather, it “compels agencies to collect and

disseminate information about the environmental consequences of proposed

actions that fall under their respective jurisdictions.”).

      The record amply shows that the Corps considered the cumulative effects of

the permit as required by NEPA. The EA contains an entire section devoted to

cumulative impacts, covering a wide geographic area of both the Middle and

Lower Locust Fork watersheds. The Corps evaluated the historical mining use of

the area and acknowledged that coal mining and timber removal activities have

occurred in the region for several decades, but found that these “pre-SMCRA and

pre-CWA impacts are relevant as they set a baseline condition for water quality

and aquatic habitat values within the watershed.” (USACE5737). The Corps also

evaluated the currently active mines and found that for the past 15 years there were

108 permits authorizing impacts to 3% of the perennial steams in the watershed.

(USACE5949-50). The active surface mines comprise 6,757 acres and impact

approximately 1.6% of the 429,373 acres in the Middle and Lower Locust Fork

watersheds. (Id.). The Corps acknowledged that ADEM placed the Locust Fork




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on its § 303(d) list, but noted that the list attributes the impairment to agriculture

and abandoned surface mines. (USACE5738).

      Notwithstanding, the Corps’ review of water quality information revealed

that “water quality associated with streams in this watershed has not been

significantly   impacted    by   permitted    mining    activities.”   (USACE5742,

USACE5950). The Corps found that “the watershed would continue to assimilate

the mining activities that are occurring within the watershed provided those

activities are conducted in accordance with the terms and conditions of the

SMCRA and CWA authorizations.” (USACE5742). Thus, the Corps concluded

that if the project is “conducted in accordance with all applicable state and Federal

regulations,” it “should not contribute to or result in cumulative significant adverse

impacts to the aquatic or human environment with in the Middle and Lower Locust

Fork watershed.” (USACE5954).

      Plaintiffs contend the Corps failed “to adequately account for the cumulative

impacts of degraded water quality of . . . streams downstream or adjacent to

mines.” (Doc. 62 at 23). Plaintiffs specifically point to the 69 coal mines in the

Lower and Middle Locust Fork and argue the Corps summarily concluded these

mines are unlikely to have cumulative impacts. The court disagrees. Instead, the

Corps recognized that pre-SMCRA mining activities had impacted the

environment but concluded current mining regulations are more rigorous and

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ensure that current mining operations will not contribute to a decrease in water

quality.22 (USACE5745-46). The Corps also noted that abandoned surface mines

and agriculture are the stated reason that the Locust Fork appears on ADEM’s §

303(d) list. (USACE5738). The Corps, therefore, concluded that any water quality

issues would be addressed through the NPDES permit for the Black Creek Mine

along with the other conditions within the permit.                    (USACE3944-45,

USACE5734). While Plaintiffs may not agree with the explanation provided by

the Corps or the conclusions made, the court’s “only role [under NEPA] is to

ensure that the agency has taken a ‘hard look’” at environmental impacts of a

proposed action. Fund for Animals, 85 F.3d at 546 (citation omitted). This it has

done.

        Plaintiffs also argue that the cumulative impacts assessment should have

included consideration of a Cumulative Hydrologic Impact Assessment (“CHIA”),

required by ASMC. (Doc. 55 at 36-38; Doc. 62 at 25-26). Again, the court

disagrees. The Corps is entitled to rely on its own expertise in determining the best

methodology for evaluating cumulative impacts and courts do not “call into

question any reasonable agency methodologies used in arriving at its conclusion.”

Protect Key West v. Cheney, 795 F. Supp. 1552, 1559 (S.D. Fla. 1992). Plaintiffs


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   Additionally, the Corps noted that of the 69 mines referenced by Plaintiffs, many are
abandoned and in a state of reclamation. (USACE5739). As more land is reclaimed, the Corps
reasoned that the overall health of watershed can be expected to improve. (USACE5742).
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do not explain what information that would be in the CHIA was overlooked by the

Corps in its cumulative analysis evaluation.        As explained above, the Corps

reasonably concluded that the Black Creek Mine is “not likely to adversely affect”

the aquatic environment because a 100-foot buffer, sediment ponds, and best

management practices will minimize impacts on water quality.          As numerous

courts have concluded, NEPA “does not require the Corps to wait for other

agencies to complete their studies . . . .” Ark. Wildlife Fed’n v. U.S. Army Corps of

Eng’rs, 431 F.3d 1096, 1101 (8th Cir. 2005) (citation omitted); Tinicum Tp., Pa. v.

U.S. Dep’t of Transp., 685 F.3d 288, 296 (3d Cir. 2012) (“While additional data

might enable a more detailed environmental analysis, NEPA does not require

maximum detail. Rather, it requires agencies to make a series of line drawing

decisions based on the significance and usefulness of additional information.”);

Town of Winthrop v. F.A.A., 535 F.3d 1, 11 (1st Cir. 2008) (“There will always be

more data that could be gathered; agencies must have some discretion to decide

when to draw the line and move forward . . . .”).

      Simply put, Plaintiffs have not shown that the cumulative impact analysis is

deficient under NEPA. This is not a case where the Corps merely listed past

actions and did not provide a detailed analysis. Instead, the Corps reasonably

considered the available evidence and concluded that the Locust Fork watershed

“is sufficiently absorbing the impacts without significant aquatic impairment

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and/or degradation.” (USACE5745). The court’s “only role [under NEPA] is to

ensure that the agency has taken a ‘hard look’” at environmental impacts of a

proposed action. Fund for Animals, 85 F.3d at 546 (citation omitted). Compliance

with NEPA is to be judged against a “rule of reason” to “avoid placing extreme or

unrealistic burdens on the compiling agency.” Isle of Hope Historical Ass’n v.

U.S. Army Corps of Eng’rs, 646 F.2d 215, 220 (5th Cir. Unit B 1981).23 Based on

the foregoing, the court concludes the Corps acted reasonably and took the

required “hard look” at environmental impacts, including cumulative impacts, as

required by NEPA.

V. CONCLUSION

       Based on the foregoing, Defendant’s motions for summary judgment (docs.

59, 61) are due to be granted and Plaintiffs’ motion for summary judgment (doc.

54) is due to be denied. A separate order will be entered.

       DATED this 14th day of December, 2018.



                                           _________________________________
                                           JOHN E. OTT
                                           Chief United States Magistrate Judge




23
  Decisions by a Unit B panel of the former Fifth Circuit are binding precedent in the Eleventh
Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir. 1982).
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